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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       Case No.: 21-CR-25 (RDM)
               v.                            :
                                             :
JORDEN MINK                                  :
                                             :
                      Defendant.             :


                                 NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court

that Assistant United States Attorney Nialah Ferrer is entering her appearance in the above-

captioned matter as counsel for the United States.

                                                     Respectfully submitted,

DATED: February 17, 2023                             MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                             By:     _______________________________
                                                     NIALAH S. FERRER
                                                     Assistant United States Attorney
                                                     New York Bar No. 5748462
                                                     United States Attorney’s Office
                                                     District of Columbia
                                                     (202) 557-1490
                                                     nialah.ferrer@usdoj.gov
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                              CERTIFICATE OF SERVICE

        On this 17th day of February 2023, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.


                                                  _____________________________
                                                  NIALAH S. FERRER
                                                  Assistant United States Attorney




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